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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

STEVEN DANIEL,                                     §
                                                   §
         Plaintiff                                 §
                                                   §
v.                                                 §          NO: ________________
                                                   §
RELIABLE PARTS;                                    §
And DOES 1-25 inclusive,                           §
                                                   §
         Defendant.                                §

                           DEFENDANT’S NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Reliable Parts, Inc., incorrectly

named Reliable Parts, (“Reliable Parts” or “Defendant”), hereby files this notice to remove the

above-captioned action from the District Court for the 95th Judicial District in Dallas County,

Texas, to the United States District Court for the Northern District of Texas, Dallas Division, based

on federal question jurisdiction (the “Notice”). In support thereof, Reliable Parts respectfully

shows the Court as follows:

                                       I.
                     BACKGROUND AND PROCEDURAL PREREQUISITES

         1.     On May 7, 2024, Plaintiff Steven Daniel (“Plaintiff” or “Daniel”) initiated an action

in the District Court for the 95th Judicial District in Dallas County, Texas, by filing a Petition

captioned Steven Daniel v. Reliable Parts Inc., Case No. DC-24-06997 (hereinafter, the “State

Court Action”). See Pl.’s Pet., attached hereto as Exhibit A-1. Plaintiff’s Petition asserts the

following causes of action: (a) race discrimination under Chapter 21 of the Texas Commission on

Human Rights Act (the “TCHRA”); (b) national origin discrimination under the TCHRA; (c)

wrongful termination based on national origin discrimination under the TCHRA; (d) age




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discrimination under the TCHRA and under the Age Discrimination in Employment Act of 1967

(the “ADEA”); (e) intentional infliction of emotional distress; (f) unlawful retaliation under the

TCHRA; (g) vicarious liability; and (h) whistleblower violation.

       2.      Removal of Plaintiff’s action is proper to this federal district because the original

action occurred in Dallas County, which falls within the Dallas Division of this Court. See 28

U.S.C. § 116(c).

       3.      Reliable Parts was served with a copy of Plaintiff’s Petition on July 18, 2024. Thus,

this Notice of Removal is timely filed. 28 U.S.C. § 1446(b). See Return of Service, attached hereto

as Exhibit A-2.

       4.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders in the

State Court Action, along with a copy of the State Court docket sheet, is attached hereto and

incorporated herein by reference. See Exhibit A.

       5.      As required by 28 U.S.C. § 1446(d), a Notice to State Court of Filing of Notice of

Removal, together with a copy of this Notice of Removal, will promptly be filed 95 th Judicial

District in Dallas County, Texas, and served on Plaintiff’s counsel.

       6.      Further, as required by Rule 7.1 of the Federal Rules of Civil Procedure, Reliable

Parts will file a separate “Corporate Disclosure Statement.”

                                      II.
                      FEDERAL QUESTION JURISDICTION EXISTS

       7.      In Plaintiff’s Petition, he asserts in relevant part a cause of action for Age

Discrimination in violation of the Age Discrimination in Employment Act of 1967 and Chapter 21

of the Texas Commission on Human Rights Act. See Pl.’s Pet., Exhibit A-1, ¶¶ 29-31, 48, 50.

       8.      The claim involving alleged violations of the ADEA in this action is a civil claim

of which this Court has original jurisdiction under 28 U.S.C. § 1331 and therefore may be removed



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to this Court by Reliable Parts pursuant to provisions of 28 U.S.C. § 1441. Removal is appropriate

because Plaintiff’s Petition raises a federal question, specifically, age discrimination under the

federal ADEA.

        9.     With respect to the causes of action that may be considered separate and

independent from those arising under federal law, they are also removable under 28 U.S.C. § 1441.

This Court has jurisdiction over Plaintiff’s statutory and common-law state claims pursuant to the

doctrine of supplemental jurisdiction under 28 U.S.C. § 1367(a), as they are so related to the federal

claim as to form part of the same case or controversy under Article III of the U.S. Constitution,

with all of Plaintiff’s claims being related to Plaintiff’s employment with Reliable Parts. Thus, this

action is removable in its entirety.

        10.    Through filing this Notice, Reliable Parts reserves its right to raise any available

defenses to Plaintiff’s claims and does not admit any of the allegations made in Plaintiff's Original

Petition.

                                              III.
                                          CONCLUSION

        WHEREFORE, Reliable Parts hereby effects removal of this action from the District Court

for the 95th Judicial District in Dallas County, Texas, to the United States District Court for the

Northern District of Texas, Dallas Division.




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Dated: August 15, 2024                         Respectfully submitted,

                                               /s/ Hunter Johnson
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                                               ATTORNEYS FOR DEFENDANT
                                               RELIABLE PARTS, INC.



                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 15, 2024, the foregoing document was filed using the
electronic filing system, which will transmit a notice of filing to all counsel of record, as follows:

                                               /s/ Hunter Johnson
                                               Hunter Johnson




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